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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  HAMMOND DIVISION

 L.G. and P.G., individually and as parents    )
 and next friends of P.G.2,                    )
        Plaintiffs,                            )
                                               )
                  v.                           )        CAUSE NO.: 2:24-CV-140-GSL-JEM
                                               )
 LAKE CENTRAL SCHOOL                           )
 CORPORATION, et al.,                          )
      Defendants.                              )

                                              ORDER

         This matter is before the Court on Defendant’s (sic) Motion for Fees Pursuant to Court’s

 Order Granting Motion to Compel [DE 53], filed by Defendants on January 21, 2025. Defendants

 seek attorney’s fees in the among of $3,458.00 incurred in making their successful motion to

 compel. Plaintiffs filed a response on February 4, 2025, and on February 11, 2025, Defendants

 filed a reply.

         Defendants filed a motion to compel discovery on December 12, 2024, arguing that

 Plaintiff failed to respond to their interrogatories and request for production of documents, despite

 extensions. On January 7, 2025, the Court granted the motion, finding that Plaintiffs failed to

 adequately respond to discovery requests as required by the Federal Rules of Civil Procedure and

 compelling Plaintiff to serve the requested signed discovery responses.

         Rule 37 provides that, if a motion to compel is granted, the Court “must, after giving an

 opportunity to be heard, require the party or deponent whose conduct necessitated the motion, the

 party or attorney advising that conduct, or both to pay the movant's reasonable expenses incurred

 in making the motion, including attorney's fees.” Fed. R. Civ. P. 37(a)(5)(A). However, the

 payment must not be ordered if the nondisclosure was “substantially justified” or “other

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 circumstances make an award of expenses unjust.” Id. The Court possesses wide latitude in

 evaluating the reasonableness of requested attorney’s fees and costs. Johnson v. Kakvand, 192

 F.3d 656, 661 (7th Cir. 1999).

        Defendants’ motion to compel was granted, so it is up to Plaintiffs to demonstrate that their

 nondisclosure was substantially justified or other circumstances make an award of attorney’s fees

 unjust. They argue that counsel for Plaintiffs requested extensions of time to provide the discovery,

 due to the schedule of counsel for Plaintiffs and ongoing school-related struggles suffered by

 Plaintiffs making it difficult for them to find time to assist with discovery responses, and that the

 majority of the information requested was already in Defendants’ possession because of the

 underlying administrative case. Defendants argue that Plaintiffs’ repeated untimeliness in

 responding to discovery obligations was not substantially justified.

        It appears that counsel for Plaintiffs attempted to obtain agreement for additional time to

 respond to the discovery requests from Defendants, but did not file a motion for extension of time

 with the Court. Plaintiffs’ response to the motion to compel was likewise untimely and

 unaccompanied by a request for extension. Although the Court is sympathetic to scheduling

 difficulties, counsel for Plaintiffs is responsible for meeting deadlines and for seeking extensions

 of those deadlines with the Court if necessary. See Fed. R. Civ. P. 6(b)(1), 16(b)(4). Counsel for

 Plaintiffs was in control of her travel schedule and could have requested additional time from the

 Court to account for her travel and when she realized that Plaintiffs were too busy to assist in

 discovery, but she did not do so. The Court cannot grant a request for extension if one is not

 requested. In addition, she did not provide signed discovery responses to Defendants until after the

 motion to compel was granted. Accordingly, the Court finds that the nondisclosure was not

 substantially justified, and an award of fees is appropriate.


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        Plaintiffs do not specifically object to specific time entries or the amount of fees in general,

 only arguing that they should be exempted from payment because their arguments were

 substantially justified. Defendants are requesting payment reflecting 22 hours of attorney and legal

 assistant time at rates ranging from $80 per hour for the legal assistant up to $165 per hour for an

 attorney. Defendants identify five billers in the attached affidavit, but the statement of legal fees

 reflects 6 sets of initials. The initials RPJ do not correspond with any of the identified billers so

 there is no basis for the Court to determine if the hourly rate is reasonable. Accordingly, the Court

 will disregard those billing entries. In addition, review of the itemization of fees reveals a number

 of time entries that are not directly related to the issues raised in their motion to compel, including

 successful exchange of documents and scheduling depositions. Accordingly, after limiting the

 award to the work performed on the motion to compel in question and to identifiable billers, the

 Court concludes that payment in the amount of $1,892.50 is reasonable in these circumstances.

 Gisbrecht v. Barnhart, 535 U.S. 789, 801-02 (2002) (“[T]he most useful starting point for court

 determination of the amount of a reasonable fee payable by the loser is the number of hours

 reasonably expended on the litigation multiplied by a reasonable hourly rate,” known as the

 “lodestar.”) (quoting Hensley v. Eckerhart, 461 U.S. 424, 433 (1983)).

        The Court notes that under Rule 37, payment should be made by “the party, the attorney

 advising that party, or both.” Fed. R. Civ. P. 37(a)(5)(B). Although the Court cannot know who

 was directing the behavior in this case and will not order a particular allocation of the payment, it

 appears that at least a portion of the delay and the failure to seek an extension of deadlines prior to

 their expiration was likely the responsibility of counsel for Plaintiffs.




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        Accordingly, the Court GRANTS in part Defendant’s (sic) Motion for Fees Pursuant to

 Court’s Order Granting Motion to Compel [DE 53] and ORDERS Plaintiffs and/or their attorney

 to reimburse Defendants in the sum of $1,892.50 within a reasonable time.

        SO ORDERED this 13th day of February, 2024.

                                            s/ John E. Martin________________________
                                            MAGISTRATE JUDGE JOHN E. MARTIN
                                            UNITED STATES DISTRICT COURT
 cc:    All counsel of record




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